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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

   v.                                                      CR NO. 21-MJ-502

ZVONIMIR JURLINA,


   Defendant.


CONSENT MOTION TO CONTINUE STATUS CONFERENCE AND EXCLUDE TIME
                  UNDER THE SPEEDY TRIAL ACT

        The United States, through undersigned counsel, hereby files this motion to adjourn the

status conference set for February 14, 2023, in the above-captioned matter, for approximately 30

days, until Thursday, March 16, 2023. Defense counsel concurs in this motion. The parties

request the additional time to engage in plea negotiations .

        The parties request that the Court exclude the time until the status conference on March

16, 2023, pursuant to 18 U.S.C. § 3161 et seq., on the basis that the ends of justice served by

taking such actions outweigh the best interest of the public and the defendant in a speedy trial

pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A).
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                                         Respectfully submitted,

                                         MATTHEW M. GRAVES
                                         UNITED STATES ATTORNEY
                                         D.C. Bar No. 481052



Date: February 10, 2023               By: __/s/ Jennifer Leigh Blackwell__________
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                                CERTIFICATE OF SERVICE

        On this 10th day of February, a copy of the foregoing was served on counsel
of record for the defendant via the Court’s Electronic Filing System.



                                                  /s/ Jennifer L. Blackwell
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